       Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 1 of 18


                                                                             APPEAL,CLOSED,TYPE−C
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:22−cv−03576−APM
                                   Internal Use Only

AMERICA FIRST LEGAL FOUNDATION v. KERNER                        Date Filed: 11/25/2022
Assigned to: Judge Amit P. Mehta                                Date Terminated: 09/29/2023
Case in other court: USCA, 23−05228                             Jury Demand: None
Cause: 05:0706 Judicial Review of Agency Actions                Nature of Suit: 890 Other Statutory
                                                                Actions
                                                                Jurisdiction: Federal Question
Plaintiff
AMERICA FIRST LEGAL                              represented by Andrew Block
FOUNDATION                                                      AMERICA FIRST LEGAL
                                                                FOUNDATION
                                                                611 Pennsylvania Avenue SE
                                                                #231
                                                                Washington, DC 20003
                                                                202−836−7958
                                                                Email: andrew.block@aflegal.org
                                                                ATTORNEY TO BE NOTICED


V.
Defendant
HENRY J. KERNER                                  represented by David Michael Glass
in his official capacity                                        U.S. DEPARTMENT OF JUSTICE
                                                                Civil Division
                                                                1100 L Street, NW
                                                                Room 12020
                                                                Washington, DC 20530
                                                                (202) 514−4469
                                                                Fax: (202) 616−8470
                                                                Email: david.glass@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED


 Date Filed       #   Docket Text
 11/25/2022       1   COMPLAINT against HENRY J. KERNER ( Filing fee $ 402 receipt number
                      ADCDC−9694202) filed by AMERICA FIRST LEGAL FOUNDATION.
                      (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Civil Cover Sheet, # 5
                      Summons Includes 3 summonses: 1 to each required party)(Block, Andrew) (Entered:
                      11/25/2022)
 11/28/2022           Case Assigned to Judge Amit P. Mehta. (zmrl) (Entered: 11/28/2022)



                                                                                                         1
     Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 2 of 18



11/28/2022        NOTICE OF ERROR re 1 Complaint; emailed to andrew.block@aflegal.org, cc'd 0
                  associated attorneys −− The PDF file you docketed contained errors: 1. Missing
                  summonses−government. When naming a government agent or agency as a defendant,
                  you must supply a summons for each defendant & two additional summonses for the
                  U.S. Attorney & U.S. Attorney General. Please submit using the event Request for
                  Summons to Issue., 2. COMPLIANCE DEADLINE is by close of business today.
                  This case will not proceed any further until all errors are satisfied. (Langford,
                  Marquia) (Entered: 11/28/2022)
11/28/2022   2    REQUEST FOR SUMMONS TO ISSUE (perfected) re 1 Complaint, filed by
                  AMERICA FIRST LEGAL FOUNDATION. Related document: 1 Complaint, filed by
                  AMERICA FIRST LEGAL FOUNDATION.(Block, Andrew) (Entered: 11/28/2022)
11/29/2022    3   SUMMONS (3) Issued Electronically as to HENRY J. KERNER, U.S. Attorney and
                  U.S. Attorney General. (Attachment: # 1 Notice and Consent)(ztth) (Entered:
                  11/29/2022)
01/09/2023    4   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 12/2/2022.
                  Answer due for ALL FEDERAL DEFENDANTS by 1/31/2023. (Block, Andrew)
                  Modified serve/due date on 1/11/2023 (zed). (Entered: 01/09/2023)
01/12/2023    5   MOTION for Summary Judgment by AMERICA FIRST LEGAL FOUNDATION.
                  (Attachments: # 1 Statement of Facts, # 2 Memorandum in Support, # 3 Exhibit, # 4
                  Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Text of Proposed Order, # 8 Certificate of
                  Service)(Block, Andrew) (Entered: 01/12/2023)
01/26/2023    6   Unopposed MOTION for Extension of Time to File Response/Reply by HENRY J.
                  KERNER. (Attachments: # 1 Prop. Order)(Glass, David) (Entered: 01/26/2023)
01/27/2023        MINUTE ORDER granting 6 Motion for Extension of Time to File Response/Reply.
                  Defendant's time in which to file its Opposition to the Motion for Summary Judgment
                  and to respond otherwise to the complaint is extended through February 17, 2023.
                  Signed by Judge Amit P. Mehta on 01/27/2023. (lcapm3) (Entered: 01/27/2023)
02/17/2023    7   MOTION to Dismiss for Failure to State a Claim by HENRY J. KERNER.
                  (Attachments: # 1 Mem. Supp., # 2 Prop. Order, # 3 Lim Decl., # 4 LCvR 7(h)
                  Statement)(Glass, David) (Entered: 02/17/2023)
02/17/2023    9   Memorandum in opposition to re 5 Motion for Summary Judgment, filed by HENRY
                  J. KERNER. (See Docket Entry 7 to view document). (zed) (Entered: 03/20/2023)
03/17/2023    8   Memorandum in opposition to re 7 Motion to Dismiss , REPLY to opposition to
                  motion 5 Motion for Summary Judgment filed by AMERICA FIRST LEGAL
                  FOUNDATION. (Block, Andrew) (Entered: 03/17/2023)
03/17/2023   10   REPLY to opposition to motion re 5 MOTION for Summary Judgment filed by
                  AMERICA FIRST LEGAL FOUNDATION. (See Docket Entry 8 to view document).
                  (zed) (Entered: 03/20/2023)
03/20/2023   11   Unopposed MOTION for Leave to File Late and Corrected Memorandum to Replace
                  ECF 8 by AMERICA FIRST LEGAL FOUNDATION. (Attachments: # 1 Exhibit
                  Corrected memo in support of plaintiff's motion for summary judgment and opposition
                  of defendant's motion to dismiss)(Block, Andrew) (Entered: 03/20/2023)
03/21/2023


                                                                                                        2
     Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 3 of 18



                  MINUTE ORDER granting 11 Motion for Leave to File Late and Corrected
                  Memorandum. Defendant's Reply Memorandum shall be due on or before April 11,
                  2023. Signed by Judge Amit P. Mehta on 03/21/2023. (lcapm3) (Entered: 03/21/2023)
04/05/2023   12   Unopposed MOTION for Extension of Time to File Response/Reply as to 7 MOTION
                  to Dismiss for Failure to State a Claim by HENRY J. KERNER. (Attachments: # 1
                  Prop. Order)(Glass, David) (Entered: 04/05/2023)
04/06/2023        MINUTE ORDER granting 12 Motion for Extension of Time to File Response/Reply.
                  The time of the Special Counsel to file his reply in support of his 7 Motion to Dismiss
                  is extended through April 25, 2023. Signed by Judge Amit P. Mehta on 04/06/2023.
                  (lcapm3) (Entered: 04/06/2023)
04/25/2023   13   REPLY to opposition to motion re 7 MOTION to Dismiss for Failure to State a Claim
                  filed by HENRY J. KERNER. (Attachments: # 1 Ex. A (Compl. in Am. First
                  II))(Glass, David) (Entered: 04/25/2023)
05/16/2023   14   Unopposed MOTION for Leave to File Sur−Reply by AMERICA FIRST LEGAL
                  FOUNDATION. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A: Proposed
                  Sur Reply)(Block, Andrew) (Entered: 05/16/2023)
05/18/2023        MINUTE ORDER granting 14 Motion for Leave to File Sur−Reply. Plaintiff's motion
                  to file the sur−reply is granted. Signed by Judge Amit P. Mehta on 05/18/2023.
                  (lcapm3) (Entered: 05/18/2023)
06/16/2023   15   Unopposed MOTION for Leave to File to File Resp. to Pl. Sur−Reply by HENRY J.
                  KERNER. (Attachments: # 1 Order, # 2 Prop. Resp., # 3 Ex. A to Prop. Resp.)(Glass,
                  David) (Entered: 06/16/2023)
06/19/2023        MINUTE ORDER granting 15 Motion for Leave to File. Defendant is granted leave to
                  file Exhibit A to his motion, and Exhibit A is deemed filed as of the date of this order.
                  Signed by Judge Amit P. Mehta on 06/19/2023. (lcapm3) (Entered: 06/19/2023)
06/28/2023   16   NOTICE of Recent Development by HENRY J. KERNER (Attachments: # 1 Ex.
                  A)(Glass, David) (Entered: 06/28/2023)
09/29/2023   17   MEMORANDUM OPINION re: 5 Plaintiff's Motion for Summary Judgment and 7
                  Defendant's Motion to Dismiss. Please see the attached Memorandum Opinion for
                  additional details. Signed by Judge Amit P. Mehta on 09/29/2023. (lcapm1) (Entered:
                  09/29/2023)
09/29/2023   18   ORDER: For the reasons stated in the 17 Memorandum Opinion, the court grants
                  Plaintiff's motion for summary judgment, ECF No. 5, with respect its APA claim
                  under § 706(2) and declares the Special Counsel's refusal to investigate was contrary
                  to law. The court also remands this matter to the Special Counsel to determine whether
                  he will investigate Plaintiff's allegation of arbitrary or capricious withholding under §
                  1261(a)(3), (c). Plaintiff's motion is otherwise denied. The court grants Defendant's
                  motion to dismiss Plaintiff's claims under § 706(1) and the Mandamus Act, ECF No. 7.
                  Please see the attached Order for further details. Signed by Judge Amit P. Mehta on
                  09/29/2023. (lcapm1) (Entered: 09/29/2023)
10/10/2023   19   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 17 Order, 18 Order on Motion
                  for Summary Judgment,,, Order on Motion to Dismiss,, by AMERICA FIRST LEGAL
                  FOUNDATION. Filing fee $ 505, receipt number ADCDC−10409412. Fee Status: Fee
                  Paid. Parties have been notified. (Block, Andrew) (Entered: 10/10/2023)


                                                                                                              3
     Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 4 of 18



10/11/2023   20   Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                  Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid re 19 Notice
                  of Appeal to DC Circuit Court. (mg) (Entered: 10/11/2023)
10/16/2023        USCA Case Number 23−5228 for 19 Notice of Appeal to DC Circuit Court, filed by
                  AMERICA FIRST LEGAL FOUNDATION. (znmw) (Entered: 10/16/2023)
03/26/2024   21   MANDATE of USCA as to 19 Notice of Appeal to DC Circuit Court, filed by
                  AMERICA FIRST LEGAL FOUNDATION ; USCA Case Number 23−5228.
                  (Attachments: # 1 USCA Order 2/1/2024)(znmw) (Entered: 03/26/2024)
05/10/2024   22   Unopposed MOTION for Entry of Final Judgment by AMERICA FIRST LEGAL
                  FOUNDATION. (Attachments: # 1 Exhibit, # 2 Text of Proposed Order)(Block,
                  Andrew) (Entered: 05/10/2024)
05/15/2024   23   ORDER granting 22 Unopposed Motion for Entry of Final Judgment. See attached
                  Order for additional details. Signed by Judge Amit P. Mehta on 05/15/2024. (lcapm3)
                  (Entered: 05/15/2024)
06/07/2024   24   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 23 Order on Motion for Entry
                  of Final Judgment, 17 Order, 18 Order on Motion for Summary Judgment,,, Order on
                  Motion to Dismiss,, by AMERICA FIRST LEGAL FOUNDATION. Filing fee $ 605,
                  receipt number ADCDC−10950099. Fee Status: Fee Paid. Parties have been notified.
                  (Block, Andrew) (Entered: 06/07/2024)
06/07/2024   25   Amended NOTICE OF APPEAL by AMERICA FIRST LEGAL FOUNDATION.
                  (Attachments: # 1 Errata Cover Letter for Clerk)(Block, Andrew) (Entered:
                  06/07/2024)




                                                                                                        4
       Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 5 of 18




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


AMERICA FIRST LEGAL FOUNDATION

       Plaintiff,

       v.
                                              Case No. 1:22-cv-3576 (APM)
HENRY J. KERNER, Special Counsel,
The Office of Special Counsel

       Defendant.


                              NOTICE OF APPEAL

      Please Take Notice that the Plaintiff America First Legal Foundation hereby

appeals, to the United States Court of Appeals for the District of Columbia, this

Court’s Order and Opinion of September 29, 2023. See ECF. Nos. 17 and 18.




Dated: October 10, 2023                    Respectfully submitted,


                                           /s/ Andrew J. Block
                                           Reed D. Rubinstein
                                           D.C. Bar No. 400153
                                           Andrew J. Block
                                           D.C. Bar No. 90002845
                                           AMERICA FIRST LEGAL FOUNDATION
                                           611 Pennsylvania Ave., S.E. #231
                                           Washington, D.C. 20003
                                           Counsel for Plaintiff




                                                                                    5
       Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 6 of 18




                               Certificate of Service

I certify that I have served this Notice of Appeal on all counsel of record through the
Court’s ECF system this 10th day of October, 2023.


                                 /s/ Andrew J. Block
                                 Counsel for America First Legal Foundation




                                                                                          6
        Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 7 of 18




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                           )
AMERICA FIRST LEGAL                        )
FOUNDATION,                                )
                                           )
      Plaintiff,                           )
                                           )
              v.                           )
                                           )   Case No. 22-cv-3576 (APM)
HENRY J. KERNER, in his official capacity, )
The Office of Special Counsel,             )
                                           )
      Defendant.                           )
_________________________________________ )


                                           ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 17, the court grants

Plaintiff’s motion for summary judgment, ECF No. 5, with respect its APA claim under § 706(2)

and declares the Special Counsel’s refusal to investigate was contrary to law. The court also

remands this matter to the Special Counsel to determine whether he will investigate Plaintiff’s

allegation of arbitrary or capricious withholding under § 1261(a)(3), (c). Plaintiff’s motion is

otherwise denied. The court grants Defendant’s motion to dismiss Plaintiff’s claims under

§ 706(1) and the Mandamus Act, ECF No. 7.

       This is a final, appealable order, to the extent the Special Counsel may wish to appeal.

See NAACP, Jefferson Cnty. Branch v. U.S. Sugar Corp., 84 F.3d 1432, 1436 (D.C. Cir. 1996).




Dated: September 29, 2023                                 Amit P. Mehta
                                                   United States District Court Judge




                                                                                                   7
         Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 8 of 18




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                           )
AMERICA FIRST LEGAL                        )
FOUNDATION,                                )
                                           )
      Plaintiff,                           )
                                           )
              v.                           )
                                           )   Case No. 22-cv-3576 (APM)
HENRY J. KERNER, in his official capacity, )
The Office of Special Counsel,             )
                                           )
      Defendant.                           )
_________________________________________ )

                                  MEMORANDUM OPINION

                                                 I.

       In April 2022, Plaintiff America First Legal Foundation submitted a Freedom of

Information Act (FOIA) request to the Department of Justice Civil Division, only to be told that

there was an unwritten policy that it could not conduct a search of an employee’s emails absent

the employee’s consent. Disbelieving that explanation, Plaintiff turned to the Office of Special

Counsel. Citing the Office’s enabling statute, Plaintiff asked the Special Counsel to investigate

whether the Civil Division had committed an “arbitrary or capricious withholding of information”

under FOIA. 5 U.S.C. § 1216(a)(3). The Special Counsel declined to do so. Relying on a

provision of FOIA, the Special Counsel explained that the Office’s investigative authority was

conditioned upon a federal district court making certain findings about a FOIA response, which

had not occurred. See 5 U.S.C. § 522(a)(4)(F)(i). Dissatisfied with that answer, Plaintiff filed this

action to compel the Special Counsel to investigate.

       The parties are now before the court on Plaintiff’s motion for summary judgment and on

the Special Counsel’s motion to dismiss. For the reasons that follow, the court finds that the




                                                                                                        8
         Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 9 of 18




Special Counsel’s refusal to investigate was contrary to law because it was based on a legal error,

but the court cannot compel the Special Counsel to undertake the discretionary act of initiating an

investigation.

                                                  II.

                                                  A.

        On April 6, 2022, Plaintiff filed a FOIA request with the DOJ Civil Division seeking “all

records of communications to or from the email dcole@aclu.org.” Pl.’s Mot. for Summ. J., ECF

No. 5 [hereinafter Pl.’s Mot.], Ex. 1, ECF No. 5-3, at 2. The Civil Division’s Acting Chief of

FOIA and Privacy subsequently advised over a phone call that “the Civil Division has a policy of

not conducting a FOIA search on employee’s emails without first getting their permission or

consent, or in the alternative asking them to conduct the search of their own inbox.” Id., Ex. 2,

ECF No. 5-4, at 6. She later acknowledged via email that the consent requirement is “not a written

policy.” Id. at 4.

        Believing that this supposed unwritten policy violated FOIA, Plaintiff wrote the Office of

the Special Counsel on August 17, 2022, requesting that it initiate an investigation pursuant to

5 U.S.C. § 1216(a)(3). Id., Ex. 3, ECF No. 5-5; Compl. ¶ 11. That statute states, in relevant part,

that   “the      Special   Counsel   shall . . . conduct   an   investigation   of   any   allegation

concerning . . . arbitrary or capricious withholding of information prohibited under” FOIA.

5 U.S.C. § 1216(a)(3).

        The Office of Special Counsel declined to investigate. Citing a code provision under

FOIA, the Special Counsel wrote on September 1, 2022, that under 5 U.S.C. § 552(a)(4)(F)(i), “we

are[] by statute unable to investigate.” Pl.’s Mot., Ex. 4, ECF No. 5-6, at 1. The Special Counsel

explained that § 552(a)(4)(F)(i)



                                                   2


                                                                                                        9
         Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 10 of 18




                  lays out three conditions that must be met before a case falls under
                  the Special Counsel’s jurisdiction in section 1216: (1) the court
                  ordered the production of improperly held agency records; (2) the
                  court assessed attorney fees and litigation costs against the United
                  States; and (3) the court issued a written finding that the
                  circumstances surrounding the agency’s withholding raised
                  questions whether the agency personnel responsible for the
                  withholding acted arbitrarily or capriciously.

Id. at 1–2. Because Plaintiff had not alleged that any of these prerequisites were met, the Special

Counsel said he could not “take further action on [Plaintiff’s] complaint at this time.” Id. at 2.

                                                         B.

         Plaintiff brought this action on November 25, 2022. Compl., ECF No. 1. The complaint

asserts two claims. The first is under the Administrative Procedure Act (“APA”), alleging agency

action that was (1) unlawfully withheld and (2) arbitrary and capricious or contrary to law. Id.

¶¶ 22–23. The second is under the Mandamus Act, seeking to compel the Special Counsel to

initiate an investigation under § 1216(a)(3). Id. ¶ 29. 1

         Plaintiff then filed a Motion for Summary Judgment. Pl.’s Mot. Defendant opposed and

moved to dismiss the complaint. Def.’s Mot. to Dismiss, ECF No. 7.

                                                         II.

         Before turning to the merits, the court must first consider its subject matter jurisdiction.

For the first time in his reply brief and then again in response to a surreply, the Special Counsel

suggests that this case is moot. See Reply in Support of Def.’s Mot., ECF No. 13 [hereinafter

Def.’s Reply], at 17–23; Def.’s Resp. to Pl.’s Sur-Reply, ECF No. 15-2 [hereinafter Def.’s Surreply


1
   The court notes that there is a mismatch between Plaintiff’s Prayer for Relief and causes of action. Compl. at 5.
Although asserting a claim under § 706(1), Plaintiff does not seek to compel agency action under that section. Id.
Rather, he seeks a “writ of mandamus requiring the defendant to investigate [Plaintiff’s] allegations.” Id. Similarly,
although advancing a claim under § 706(2), Plaintiff does not ask to hold unlawful and set aside agency action as
arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. Rather, he requests a
“declaratory judgment that the plaintiff has a non-discretionary duty under 5 U.S.C. § 1216(a)(3) to investigate
[Plaintiff’s] allegations.” Id. Notwithstanding these pleading issues, which Defendant has not raised, the court will
treat Plaintiff as requesting relief under § 706(1) and (2) and the Mandamus Act.

                                                          3


                                                                                                                         10
        Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 11 of 18




Resp.], at 3–4. In the reply brief, the Special Counsel argues that the case is moot because there

is not, nor has there ever been, an “unwritten policy” to require an employee’s consent before

searching the employee’s email. Def.’s Reply at 18–19 (citing Mot., Decl. of Daniel Lim, ECF No.

7-3, ¶¶ 12, 14). The argument seems to be that, because there is no “unwritten policy,” the court

cannot grant the relief Plaintiff seeks. Id. The Special Counsel makes a different argument in

response to Plaintiff’s surreply. There, he contends that the case is moot because the Civil Division

has almost completed searching for the responsive records that Plaintiff sought. Def.’s Surreply

Resp. at 4. The theory appears to be that Plaintiff’s injury is the nondisclosure of records and,

because it has now (or soon will) receive them, there is no longer an injury to remedy. See id.

        These arguments patently misunderstand Plaintiff’s claims. Plaintiff asks for two forms of

relief: (1) a declaration that the Special Counsel’s reason for declining to investigate was contrary

to law and (2) an order compelling the Special Counsel to “investigate [its] allegations under

5 U.S.C. § 1216(a)(3).” Compl. at 5. That statute, as will be discussed below, authorizes the

Special Counsel to investigate an agency employee for arbitrarily or capriciously withholding

disclosable material under FOIA. Neither the absence of an “unwritten policy” nor production of

the requested emails forecloses that relief. This case is not moot. See Uzuegbunam v. Preczewski,

141 S. Ct. 792, 796 (2021) (“[I]f in the course of litigation a court finds that it can no longer provide

a plaintiff with any effectual relief, the case generally is moot.”).

                                                  III.

        On the merits, the court is asked to consider the interplay between § 1216(a)(3), an

authorizing statute for the Office of Special Counsel, and § 552(a)(4)(F)(i), a provision under

FOIA.




                                                   4


                                                                                                            11
          Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 12 of 18




                                                         A.

          The court starts with the provision upon which Plaintiff relies. Section 1216, which is titled

“Other matters within the jurisdiction of the Office of Special Counsel,” states in pertinent part:

                  (a) In addition to the authority otherwise provided in this chapter,
                  the Special Counsel shall, except as provided in subsection (b),[2]
                  conduct an investigation of any allegation concerning—

                  ...

                  (3) arbitrary or capricious withholding of information prohibited
                  under section 552 . . .”[3]

                  ...

                  (c) If the Special Counsel receives an allegation concerning any
                  matter under paragraph [(3)][4] of subsection (a), the Special
                  Counsel may investigate and seek corrective action under section
                  1214 and disciplinary action under section 1215 in the same way as
                  if a prohibited personnel practice were involved.

5 U.S.C. § 1216(a)(3), (c).         Focusing on the word “shall” in subsection (a), Plaintiff reads

§ 1216(a)(3) to require the Office of Special Counsel to investigate “any allegation” of “arbitrary

or capricious withholding of information” under FOIA. Pl.’s Mem. of P & A in Support of Pl.’s

Mot., ECF No. 5-2, at 5.

          For its part, the Special Counsel relies on a unique provision in FOIA that directs the

agency to investigate the arbitrary or capricious denial of a FOIA request. Section 552(a)(4)(F)(i)

states:

                  Whenever the court orders the production of any agency records
                  improperly withheld from the complainant and assesses against the
                  United States reasonable attorney fees and other litigation costs, and
2
  Subsection (b), which is not relevant here, provides: “The Special Counsel shall make no investigation of any
allegation of any prohibited activity referred to in subsection (a)(5), if the Special Counsel determines that the
allegation may be resolved more appropriately under an administrative appeals procedure.”
3
  Subsection (a)(3) continues, “except that the Special Counsel shall make no investigation of any withholding of
foreign intelligence or counterintelligence information the disclosure of which is specifically prohibited by law or by
Executive order[.]”
4
  Subsection (c) also extends to allegations concerning any matter under paragraphs (1), (4), or (5) of subsection (a).

                                                          5


                                                                                                                          12
        Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 13 of 18




               the court additionally issues a written finding that the circumstances
               surrounding the withholding raise questions whether agency
               personnel acted arbitrarily or capriciously with respect to the
               withholding, the Special Counsel shall promptly initiate a
               proceeding to determine whether disciplinary action is warranted
               against the officer or employee who was primarily responsible for
               the withholding.

5 U.S.C. § 552(a)(4)(F)(i). The Special Counsel reads this provision as cabining its authority to

investigate under § 1216(a)(3) only to those circumstances in which the three conditions set forth

in § 552(a)(4)(F)(i) are present.

                                                 B.

       “[W]hen the statute’s language is plain, the sole function of the courts—at least where the

disposition required by the text is not absurd—is to enforce it according to its terms.” U.S. ex rel.

Totten v. Bombardier Corp., 380 F.3d 488, 494 (D.C. Cir. 2004) (citation omitted). Further, “every

clause and word of a statute should, if possible, be given effect.” Chickasaw Nation v. United

States, 534 U.S. 84, 93 (2001) (citation omitted). And “statutory provisions, whenever possible,

should be construed so as to be consistent with each other.” Citizens to Save Spencer Cnty. v.

EPA, 600 F.2d 844, 870 (D.C. Cir. 1979). The court does “not resort to legislative history to cloud

a statutory text that is clear.” United States v. Barnes, 295 F.3d 1354, 1365 (D.C. Cir. 2002)

(citation omitted).

       Applying the foregoing principles, the court holds that the Special Counsel does have the

legal authority to initiate an investigation under § 1216(a) based on an alleged arbitrary or

capricious withholding of information under FOIA, even if the prerequisites of § 552(a)(4)(F)(i)

are absent, but it is not required to do so. The court cannot, however, compel the Special Counsel

to investigate under § 1216(a).




                                                 6


                                                                                                        13
        Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 14 of 18




       Congress used noticeably different language about the Special Counsel’s investigative

authority in § 552(a)(4)(F)(i) versus § 1216(a). Those differences allow the court to easily

harmonize the two provisions. Section 552(a)(4)(F)(i) speaks in mandatory terms. The statute

provides that, when the three preconditions are met, the Special Counsel “shall promptly initiate a

proceeding to determine whether disciplinary action is warranted against the officer or employee

who was primarily responsible for the withholding.” 5 U.S.C. § 552(a)(4)(F)(i) (emphasis added).

Further, “after investigation and consideration of the evidence submitted,” the Special Counsel

“shall submit his findings and recommendations to the administrative authority of the agency

concerned.” Id. (emphasis added). The Special Counsel also “shall send copies of the findings

and recommendations to the officer or employee or his representative.” Id. (emphasis added).

And, finally, “[t]he administrative authority shall take the corrective action that the Special

Counsel recommends.” Id. (emphasis added). That is four uses of the word “shall” in two

sentences.    In that context, the word “shall” unmistakably “connotes a requirement.”

Kingdomware Tech., Inc. v. United States, 579 U.S. 162, 171 (2016). Thus, in § 552(a)(4)(F)(i),

Congress imposed a duty on the Special Counsel to investigate an agency employee that a court

has determined may have acted arbitrarily or capriciously in withholding information under FOIA.

The Special Counsel cannot decline to investigate.

       Section 1612 reads very differently.          It does not contain mandatory language.

Subsection (c) states that “[i]f the Special Counsel receives an allegation concerning any matter

under paragraph [(a)(3)], the Special Counsel may investigate and seek corrective action . . .” 5

U.S.C. § 1216(c) (emphasis added). That is plainly discretionary language. Baltimore Gas &

Elec. Co. v. FERC, 252 F.3d 456, 461 (D.C. Cir. 2001) (describing the statutory text “may

investigate” as “discretionary”); Amalgamated Transit Union v. Skinner, 894 F.2d 1362, 1370 n.7



                                                7


                                                                                                      14
         Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 15 of 18




(D.C. Cir. 1990) (same). That permissive language makes sense. Because Congress authorized

the Special Counsel to investigate based upon a mere “allegation,” it gave the Special Counsel

discretion whether to initiate an inquiry.

         The Special Counsel’s misreading of these provisions rests on its improper elevation of

legislative history over the statutory text. See Mem. in Support of Def.’s Mot., ECF No. 7-1

[hereinafter Def.’s Mem.], at 10 (relying exclusively on legislative history of § 1216(a)(3)).

Where, as here, the text is plain, there is no need to resort to legislative history. See Ratzlaf v.

United States, 510 U.S. 135, 147–48 (1994) (stating courts should “not resort to legislative history

to cloud a statutory text that is clear”); Davis v. Michigan Dep’t of Treasury, 489 U.S. 803, 808–

09 n.3 (1989) ( “Legislative history is irrelevant to the interpretation of an unambiguous statute.”).

         But even if the court considers legislative history, the Special Counsel’s reading of it is

wrong.     Def.’s Mem. at 10.      The Special Counsel relies exclusively on a Senate Report

accompanying the Civil Service Reform Act of 1978, Sen. Rep. No. 95-969 (1978). That Report,

the Special Counsel points out, states that

                “Clause (C),” the provision now codified as § 1216(a)(3), refers to
                5 U.S.C. 552(a)(4)(F) which relates to court findings that
                information may have been withheld arbitrarily or capriciously. The
                Special Counsel may investigate on the basis of such findings, and
                make recommendations to the opening [sic] involved, but it [sic] not
                given independent authority under this subparagraph to review the
                basis for withholding information from disclosure under the
                Freedom of Information Act.

Def.’s Mem. at 10 (quoting Sen. Rep. No. 95-969 at 37). In other words, under § 1216(a)(3), the

authority to investigate an arbitrary or capricious withholding of disclosable information under

FOIA is tied to the prerequisites of § 552(a)(4)(F)(i). That piece of legislative history would appear

to be compelling at first blush.




                                                  8


                                                                                                         15
          Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 16 of 18




         The problem with the Special Counsel’s reliance on the 1978 Senate Report is that it

predates the enactment of § 1216 and subparagraph (c). It is true that Congress first vested the

Special Counsel with authority to investigate under what is now § 1216(a)(3) in the Civil Service

Reform Act of 1978. See Pub. L. No. 95–454, § 1206(e)(1)(C), 922 Stat. 1111, 1128 (Oct. 13,

1978). But in the Whistleblower Protection Act of 1989, Congress consolidated various matters

within the Special Counsel’s jurisdiction under a single provision, § 1216(a), including subsection

(a)(3). See Pub. L. No. 101-12, § 3, 103 Stat. 16, 28 (Apr. 10, 1989). That legislation also

introduced for the first time § 1216(c)(2) (1989), what is today simply § 1216(c). Subsection

1216(c)(2) (1989) allowed the Special Counsel to probe an “allegation concerning any matter

under” (a)(3). Id. The 1989 Act therefore expanded the Office of the Special Counsel’s authority

to investigate and gave it discretion to make inquiries into an arbitrary or capricious withholding,

even if § 552(a)(4)(F)(i)’s three conditions are not present. The complete recitation of the

legislative history of § 1216 thus supports the court’s reading of the relevant provisions, not the

Special Counsel’s.

         The court therefore holds that the Special Counsel acted contrary to law by refusing to

initiate an investigation based on a legal error. 5

                                                          C.

         That conclusion does not mean that the court can order the Special Counsel to investigate,

as Plaintiff requests. Section 706(1) codifies the common law writ of mandamus and empowers a


5
 The Special Counsel also argues that Plaintiff’s APA claim must be dismissed because FOIA provides it an adequate
remedy at law. Def.’s Mem. at 11–12. This argument fails for the same reason this case is not moot: the disclosure
of records is not the remedy Plaintiff seeks. The Special Counsel further maintains that, because 5 U.S.C. § 1216 does
not provide Plaintiff a private right of action, this action must be dismissed. Def.’s Reply at 11–12. The Special
Counsel forfeited this argument by raising it for the first time in his reply. See Abdullah v. Obama, 753 F.3d 193, 199
(D.C. Cir. 2014). At any rate, he is incorrect. Plaintiff’s claims are to set aside agency action contrary to law and to
compel agency action under the APA—that is all the private right of action that Plaintiff needs. See Jud. Watch, Inc.
v. Kerry, 844 F.3d 952, 954 (D.C. Cir. 2016) (APA supplying claim when Federal Records Act did not contain a
private right of action).

                                                           9


                                                                                                                           16
        Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 17 of 18




court only to compel an agency “to perform a ministerial or non-discretionary act” amounting to

“a specific, unequivocal command.” See Norton v. S. Utah Wilderness Alliance, 542 U.S. 55, 61,

63 (2004) (internal quotation marks omitted); see also Anglers Conservation Network v. Pritzker,

809 F.3d 664, 670 (D.C. Cir. 2016). “[A] claim under [section] 706(1) can proceed only where a

plaintiff asserts that an agency failed to take a discrete agency action that it is required to take.”

Norton, 542 U.S. at 64.

        The decision whether to investigate under § 1216(c) is plainly committed to the discretion

of the Special Counsel. To reiterate, section 1216(c) says that the Special Counsel “may”

investigate an “allegation” of an arbitrary or capricious withholding. It is therefore not action the

court can compel. See Citizens for Resp. & Ethics in Washington v. FEC, 993 F.3d 880, 888 (D.C.

Cir. 2021) (“Civil enforcement actions are presumptively committed to the agency’s

discretion[.]”).

        The word “shall” in § 1216(a) does not require a different result. See Pl.’s Mot. at 5.

“Courts look to context to confirm whether ‘shall’ imposes a mandatory obligation or whether

instead ‘the context of a particular usage . . . require[s] the construction of . . . “shall” as

permissive.” In re Nat’l Nurses United, 47 F.4th 746, 754 (D.C. Cir. 2022) (quoting LO Shippers

Action Comm. v. ICC, 857 F.2d 802, 806 (D.C. Cir. 1988)). The use of the word “shall” in

subsection (a) cannot possibly be mandatory because subsection (c) makes clear that an

investigation of matters listed under subsection (a) “may” be undertaken by the Special Counsel.

5 U.S.C. § 1216(c). A court cannot compel a discretionary act.

        The court therefore dismisses Plaintiff’s APA claim under § 706(1) and his request for

mandamus relief. See In re Bluewater Network, 234 F.3d 1305, 1315 (D.C. Cir. 2000) (stating

that mandamus is “reserved only for the most transparent violations of a clear duty to act”).



                                                 10


                                                                                                         17
        Case 1:22-cv-03576-APM Document 26 Filed 06/10/24 Page 18 of 18




                                               IV.

       For the foregoing reasons, the court grants Plaintiff’s motion for summary judgment,

ECF No. 5, with respect its APA claim under § 706(2) and declares the Special Counsel’s refusal

to investigate was contrary to law. The court also remands this matter to the Special Counsel to

determine whether he will investigate Plaintiff’s allegation of arbitrary or capricious withholding

under § 1261(a)(3), (c). Plaintiff’s motion is otherwise denied. The court grants Defendant’s

motion to dismiss Plaintiff’s claims under § 706(1) and the Mandamus Act, ECF No. 7.

       A final, appealable order accompanies this Memorandum Opinion, to the extent the Special

Counsel may wish to appeal. See NAACP, Jefferson Cnty. Branch v. U.S. Sugar Corp., 84 F.3d

1432, 1436 (D.C. Cir. 1996).




Dated: September 29, 2023                                   Amit P. Mehta
                                                     United States District Court Judge




                                                11


                                                                                                      18
